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       Case 4:19-cr-06017-SAB     ECF No. 23      filed 05/23/19   PageID.60 Page 2 of 3




 1         I understand that if the Court grants the Motion to Continue that all time
 2
     between the date the Motion to Continue was filed and the new date for trial will be
 3
     excluded from the speedytrial period under the Speedy Trial Act.
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                                            Date:
 8
           I h ave read this form and discussed
 9                                                p
10
11                                         Counsel for Defendant
12
                                                       _s1!-1 It�
                                            Date: ---'----','------------
13
     Dated: May 23, 2019
14
15                                                 Bys/ Paul E. Shelton
                                                     Paul E. Shelton, 52337
16                                                   Federal Defenders of Eastern
                                                     Washington and Idaho
17                                                   306 East Chestnut Avenue
                                                     Yakima, Washington 98901
18                                                   (509) 248-8920
                                                     (509) 248-9118 fax
19                                                   Paul_Shelton@fd.org
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     Statement of Reasons: 2
        Case 4:19-cr-06017-SAB       ECF No. 23   filed 05/23/19   PageID.61 Page 3 of 3




 1                                    Certificate of Service
 2
            I hereby certify that on May 23, 2019, I electronically filed the foregoing with
 3
     the Clerk of the Court using the CM/ECF System, which will send notification of
 4
     such filing to the following:
 5
            Caitlin A. Baunsgard, Assistant United States Attorney.
 6
 7                                                s/ Paul E. Shelton
                                                  Paul E. Shelton
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     Statement of Reasons: 3
